 8:06-cr-00061-LSC-TDT              Doc # 57   Filed: 03/24/06   Page 1 of 1 - Page ID # 79




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:06CR61
                       Plaintiff,                   )
                                                    )
       vs.                                          )              ORDER
                                                    )
JESUS PADILLA-PALACIOS,                             )
                                                    )
                       Defendant.                   )
       This matter is before the court on the motion for an extension of time by defendant
Jose Padilla-Palacios (Palacios) (Filing No. 48). Palacios seeks an additional thirty days
in which to file pretrial motions in accordance with the progression order (Filing No. 14).
Palacios' counsel represents that government's counsel has no objection to the motion.
Palacios' counsel further represents that Palcios will be filing an affidavit wherein Palacios
consents to the motion and acknowledges he understands the additional time may be
excludable time for the purposes of the Speedy Trial Act. Upon consideration, the motion
will be granted.
       IT IS ORDERED:
       Defendant Palacios' motion for an extension of time (Filing No. 48) is granted.
Defendant Palacios is given until on or before April 21, 2006, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between March 24, 2006 and April 21, 2006, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 24th day of March, 2006.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
